Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 1of26 PagelD 49

Oe,
Dag te
sstése
t

Né Cigna.

 

 

Prescription Drug Benefits
The Schedule

 

For You and Your Dependents

 

This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.

As applicable, your Deductible or Coinsurance payment will be based on the Plan's Prescription Drug Charge when the
Pharmacy is a Network Pharmacy.

Coinsurance

 

The term Coinsurance means the percentage of charges for covered Prescription Drug Products that you or your
Dependent are required to pay under this plan.

 

 

 

 

Z NETWORK NON-NETWORK
OMS SUE SUS TR PHARMACY PHARMACY
Lifetime Maximum Refer to the Medical Benefits Refer to the Medical Benefits
Schedule Schedule
Calendar Year Deductible
Individual Refer to the Medical Benefits Refer to the Medical Benefits
Schedule Schedule
Family Refer to the Medical Benefits Refer to the Medical Benefits
Schedule Schedule

 

Non-PPACA Preventive Medications

Non-PPACA Preventive Medications used to prevent any of the following medical conditions and that are dispensed by a
Pharmacy are not subject to the Deductible:

« hypertension, high cholesterol, diabetes, asthma, osteoporosis, stroke, prenatal nutrient deficiency
e smoking cessation
g antiobesity and weight loss

 

Out-of-Pocket Maximum
Individual Refer to the Medical Benefits Refer to the Medical Benefits
Schedule Schedule
Family Refer to the Medical Benefits Refer to the Medical Benefits
Schedule Schedule

 

 

 

Maintenance Drug Products

Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Pharmacy.

 

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

Note: Cover diabetic supplies at $10 at retail and $20 at mail waive deductible

 

 

 

 

39 myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 2of26 PagelD 50

wwe.

Ne Cigna.

‘—
—

 

SI SINS) MW bLGic1 Cie be)

NETWORK
PHARMACY

NON-NETWORK
PHARMACY

 

Prescription Drug Products at
Retail Pharmacies

The amount you pay for up toa
consecutive 30-day supply at a
Network Pharmacy

The amount you pay for up to a
consecutive 30-day supply at a non-
Network Pharmacy

 

Tier 1

Generic Preventive Drugs on the
Prescription Drug List

Generic Non-preventive Drugs on
the Prescription Drug List

No charge after $10 copay

20% after plan Deductible

In-network coverage only

In-network coverage only

 

Tier 2

Brand Preventive Drugs designated
as preferred on the Prescription
Drug List

Brand Non-preventive Drugs
designated as preferred on the
Prescription Drug List

No charge after $30 copay

20% after plan Deductible

In-network coverage only

In-network coverage only

 

Tier 3

Brand Preventive Drugs designated
as non-preferred on the Prescription
Drug List

Brand Non-preventive Drugs
designated as non-preferred on the
Prescription Drug List

No charge after $60 copay

20% after plan Deductible

In-network coverage only

In-network coverage only

 

Prescription Drug Products at
Retail Designated Pharmacies

 

The amount you pay for up toa
consecutive 90-day supply at a
Designated Pharmacy

 

The amount you pay for up to a
consecutive 90-day supply at a non-
Designated Pharmacy

 

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

 

 

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per

Prescription Order or Refill.

 

 

myCigna.com

 
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 3of26 PagelD 51

4@ Cigna.

 

 

 

 

Seis = Tete NETWORK NON-NETWORK
tema TONE TE PHARMACY a SENOS
Tier 1
Generic Preventive Drugs on the No charge after $10 copay In-network coverage only
Prescription Drug List
Generic Non-preventive Drugs on 20% after plan Deductible In-network coverage only
the Prescription Drug List
Tier 2
Brand Preventive Drugs designated | No charge after $30 copay In-network coverage only
as preferred on the Prescription
Drug List
Brand Non-preventive Drugs 20% after plan Deductible In-network coverage only
designated as preferred on the
Prescription Drug List
Tier 3
Brand Preventive Drugs designated | No charge after $60 copay In-network coverage only
as non-preferred on the Prescription
Drug List
Brand Non-preventive Drugs 20% after plan Deductible In-network coverage only

designated as non-preferred on the
Prescription Drug List

 

Prescription Drug Products at
Home Delivery Pharmacies

The amount you pay for up toa
consecutive 90-day supply at a
Network Pharmacy

The amount you pay for up to a
consecutive 90-day supply at a non-
Network Pharmacy

 

Tier 1

Generic Preventive Drugs on the
Prescription Drug List

Generic Non-preventive Drugs on
the Prescription Drug List

No charge after $20 copay

20% after plan Deductible

In-network coverage only

In-network coverage only

 

Tier 2

Brand Preventive Drugs designated
as preferred on the Prescription
Drug List

Brand Non-preventive Drugs
designated as preferred on the
Prescription Drug List

No charge after $60 copay

20% after plan Deductible

In-network coverage only

In-network coverage only

 

 

Tier 3

Brand Preventive Drugs designated
as non-preferred on the Prescription
Drug List

 

No charge after $120 copay

 

In-network coverage only

 

 

41

myCigna.com

 
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 4of26 PagelD 52

@ Cigna.

 

NETWORK

BENEFIT HIGHLIGHTS PHARMACY

Brand Non-preventive Drugs 20% after plan Deductible
designated as non-preferred on the
Prescription Drug List

NON-NETWORK

ds PaN ai Oa en

In-network coverage only

 

 

 

42

myCigna.com
Case 2:20-cv-02460-MSN-cgc

Né Cig na.

Document 1-2 Filed 06/26/20 Page 5of26 PagelD 53

 

Prescription Drug Benefits
For You and Your Dependents

Covered Expenses"

Your plan provides benefits for Prescription Drug Products
dispensed by a Pharmacy. Details regarding your plan’s
Covered Expenses, Limitations and Exclusions are provided
below and are shown in The Schedule.

If you or any one of your Dependents, while insured for
Prescription Drug Benefits, incurs expenses for charges made
by a Pharmacy for Medically Necessary Prescription Drug
Products ordered by a Physician, Cigna will provide coverage
for those expenses as shown in The Schedule. Your benefits
may vary depending on which of the Prescription Drug List
tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.

Coverage under your plan’s Prescription Drug Benefits also
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to
you or your Dependents by a licensed dentist for the
prevention of infection or pain in conjunction with a dental
procedure.

When you or a Dependent are issued a Prescription Order or
Refill for Medically Necessary Prescription Drug Products as
part of the rendering of Emergency Services and Cigna
determines that it cannot reasonably be filled by a Network
Pharmacy, the prescription will be covered by Cigna as if
filled by a Network Pharmacy. Your payment will be based on
the Usual and Customary Charge submitted by the non-
Network Pharmacy.

Prescription Drug List Management

The Prescription Drug List (or formulary) offered under your
Employer’s plan is managed by the Cigna Business Decision
Team. Your plan’s Prescription Drug List coverage tiers may
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should
apply to a Prescription Drug Product by considering a number
of factors including, but not limited to, clinical and economic
factors. Clinical factors may include, but are not limited to, the
P&T Committee’s evaluations of the place in therapy, relative
safety or relative efficacy of the Prescription Drug Product, as
well as whether certain supply limits or other utilization
management requirements should apply. Economic factors

may include, but are not limited to, the Prescription Drug
Product's acquisition cost including, but not limited to,

assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. When considering a
Prescription Drug Product for tier placement on the
Prescription Drug List or other coverage conditions, the
Business Decision Team reviews clinical and economic
factors regarding enrollees as a general population across its
book-of-business. Regardless of its eligibility for coverage
under the plan, whether a particular Prescription Drug Product
is appropriate for you or any of your Dependents is a
determination that is made by you or your Dependent and the
prescribing Physician.

The coverage status of a Prescription Drug Product may
change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a
New Prescription Drug Product in the same therapeutic class
as a Prescription Drug Product may become available, or other
market events may occur. Market events that may affect the
coverage status of a Prescription Drug Product include, but are
not limited to, an increase in the acquisition cost of a
Prescription Drug Product. As a result of coverage changes,
for the purposes of benefits the plan may require you to pay
more or less for that Prescription Drug Product, to obtain the
Prescription Drug Product from a certain Pharmacy(ies) for
coverage, or try another covered Prescription Drug Product(s).
Please access the internet through the website shown on your
ID card or call member services at the telephone number on
your ID card for the most up-to-date tier status, utilization
management, or other coverage limitations for a Prescription
Drug Product.

HC-PHR136 10-16

 

43

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 6of26 PagelD 54

34? Cigna.

 

Limitations

In the event you or your Dependent insist on a more expensive
Brand Drug where a Generic Drug is available, you will be
financially responsible for the amount by which the cost of the
Brand Drug exceeds the cost of the Generic Drug, plus any
required Generic Drug Copayment and/or Coinsurance. In this
case, the amount by which the cost of the Brand Drug exceeds
the cost of the Generic Drug will not apply to your Deductible,
if any, or Out of Pocket Maximum. However, in the event
your Physician determines that the Generic Drug is not an
acceptable alternative for you (and indicates Dispensed as
Written on the Prescription Order or Refill), you will only be
responsible for payment of the appropriate Brand Drug
Coinsurance and/or Copayment after satisfying your
Deductible, if any.

Prior Authorization Requirements

Coverage for certain Prescription Drug Products prescribed to
you requires your Physician to obtain prior authorization from
Cigna or its Review Organization. The reason for obtaining
prior authorization from Cigna is to determine whether the
Prescription Drug Product is Medically Necessary in
accordance with Cigna's coverage criteria. Coverage criteria
for a Prescription Drug Product may vary based on the clinical
use for which the Prescription Order or Refill is submitted,
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market
factors.

If Cigna or its Review Organization reviews the
documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or otherwise
excluded, your plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review
claims for excluded Prescription Drug Products or other
services to determine if they are Medically Necessary, unless
required by law.

When Prescription Drug Products that require prior
authorization are dispensed at a Pharmacy, you or your
prescribing Physician are responsible for obtaining prior
authorization from Cigna. If you do not obtain prior
authorization from us before the Prescription Drug Product is
dispensed by the Pharmacy, you can ask us to consider
reimbursement after you pay for and receive the Prescription
Drug Product. You will need to pay for the Prescription Drug
Product at the Pharmacy prior to submitting a reimbursement
request.

When you submit a claim on this basis, you will need to
submit a paper claim using the form that appears on the
website shown on your ID card.

If a prior authorization request is approved, your Physician
will receive confirmation. The authorization will be processed
in the claim system to allow you to have coverage for the

Prescription Drug Product. The length of the authorization
may depend on the diagnosis and the Prescription Drug
Product. The authorization will at all times be subject to the
plan’s terms of coverage for the Prescription Drug Product,
which may change from time to time. When your Physician
advises you that coverage for the Prescription Drug Product
has been approved, you can contact a Pharmacy to fill the
covered Prescription Order or Refill.

If the prior authorization request is denied, your Physician and
you will be notified that coverage for the Prescription Drug
Product is not authorized. If you disagree with a coverage
decision, you may appeal that decision in accordance with the
provisions of the plan by submitting a written request stating
why the Prescription Drug Product should be covered.

Step Therapy

Certain Prescription Drug Products are subject to step therapy
requirements. This means that in order to receive Benefits for
such Prescription Drug Products you are required to try a
different Prescription Drug Product(s) first unless you satisfy
the plan's exception criteria. You may identify whether a
particular Prescription Drug Product is subject to step therapy
requirements at the website shown on your ID card or by
calling member services at the telephone number on your ID
card.

Supply Limits

Benefits for Prescription Drug Products are subject to the
supply limits that are stated in The Schedule. For a single
Prescription Order or Refill, you may receive a Prescription
Drug Product up to the stated supply limit.

Some products are subject to additional supply limits, quantity
limits or dosage limits based on coverage criteria that have
been approved based on consideration of the P&T
Committee’s clinical findings. Coverage criteria are subject to
periodic review and modification. The limit may restrict the
amount dispensed per Prescription Order or Refill and/or the
amount dispensed per month's supply, or may require that a
minimum amount be dispensed.

You may determine whether a Prescription Drug Product has
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by
calling member services at the telephone number on your ID
card.

Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug
Products. If you require Specialty Prescription Drug Products,
you may be directed to a Designated Pharmacy with whom
Cigna has an arrangement to provide those Specialty
Prescription Drug Products.

 

44

myCigna.com
Case 2:20-cv-02460-MSN-cgc

Document 1-2 Filed 06/26/20 Page 7of26 PagelD 55

 

Designated Pharmacies

If you require certain Prescription Drug Products, including,
but not limited to, Specialty Prescription Drug Products, we
may direct you to a Designated Pharmacy with whom we have
an arrangement to provide those Prescription Drug Products. If
you are directed to a Designated Pharmacy and you choose not
to obtain your Prescription Drug Product from a Designated
Pharmacy, you may not receive coverage for the Prescription
Drug Product or be subject to the non-Network Pharmacy
Benefit, if any, for that Prescription Drug Product. Refer to
The Schedule for further information.

New Prescription Drug Products

The Business Decision Team may or may not place a New
Prescription Drug Product on the Prescription Drug List tier
upon its market entry. The Business Decision Team will use
reasonable efforts to make a tier placement decision for a New
Prescription Drug Product within six months of its market
availability. The Business Decision Team’s tier placement
decision shall be based on consideration of, without limitation,
the P&T Committee’s clinical review of the New Prescription
Drug Product and economic factors. If a New Prescription
Drug Product not listed on the Prescription Drug List is
approved by Cigna or its Review Organization as Medically
Necessary in the interim, the New Prescription Drug Product
shall be covered at the applicable coverage tier as set forth in
The Schedule.

10-16
v1

HC-PHR137

Your Payments

Covered Prescription Drug Products purchased at a Pharmacy
are subject to any applicable Deductible, Copayments or
Coinsurance shown in The Schedule. Please refer to The
Schedule for any required Copayments, Coinsurance,
Deductibles or Out-of-Pocket Maximums.

When a treatment regimen contains more than one type of
Prescription Drug Products that are packaged together for your
or your Dependent's convenience, any applicable Copayment
or Coinsurance may apply to each Prescription Drug Product.

Any Prescription Drug Product not listed on the Prescription
Drug List that is not otherwise excluded and Cigna or its
Review Organization approves as Medically Necessary shall
be covered at the applicable coverage tier as set forth in The
Schedule.

The amount you or your Dependent pays for any excluded
Prescription Drug Product or other product or service will not
be included in calculating any applicable plan Out-of-Pocket
Maximum. You are responsible for paying 100% of the cost

(the amount the Pharmacy charges you) for any excluded
Prescription Drug Product or other product, and any
negotiated Prescription Drug Charge will not be available to
you.

HC-PHR234

Exclusions

Coverage exclusions listed under the “Exclusions, Expenses
Not Covered and General Limitations” section also apply to
benefits for Prescription Drug Products. In addition, the
exclusions listed below apply to benefits for Prescription Drug
Products. When an exclusion or limitation applies to only
certain Prescription Drug Products, you can access the internet
through the website shown on your ID card or call member
services at the telephone number on your ID card for
information on which Prescription Drug Products are
excluded.

« coverage for Prescription Drug Products for the amount
dispensed (days' supply) which exceeds the applicable
supply limit, or is less than any applicable supply minimum
set forth in The Schedule, or which exceeds quantity limit(s)
or dosage limit(s) set by the P&T Committee.

e more than one Prescription Order or Refill for a given
prescription supply period for the same Prescription Drug
Product prescribed by one or more Physicians and
dispensed by one or more Pharmacies.

e Prescription Drug Products dispensed outside the
jurisdiction of the United States, except as required for
emergency or Urgent Care treatment.

e Prescription Drug Products which are prescribed, dispensed
or intended to be taken by or administered to you while you
are a patient in a licensed Hospital, Skilled Nursing Facility,
rest home, rehabilitation facility, or similar institution which
operates on its premises or allows to be operated on its
premises a facility for dispensing pharmaceutical products.

e Prescription Drug Products furnished by the local, state or
federal government (except for a Network Pharmacy owned
or operated by a local, state or federal government).

e Prescription and non-prescription supplies other than
supplies covered as Prescription Drug Products.

e vitamins, except prenatal vitamins that require a
Prescription Order or Refill, unless coverage for such
product(s) is required by federal or state law.

e medications used for cosmetic purposes, including, without
limitation, medications used to reduce wrinkles,
medications used to promote hair growth, or medications
used to control perspiration and fade cream products.

 

45

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 8of 26 PagelD 56

Ge
s*eafe

4 Cigna.

=
ae

 

Prescription Drug Products as a replacement for a
previously dispensed Prescription Drug Product that was
lost, stolen, broken or destroyed.

Medical Pharmaceuticals covered solely under the plan’s
medical benefits.

e Prescription Drug Products used for the treatment of male or
female sexual dysfunction, including, but not limited to
erectile dysfunction, delayed ejaculation, anorgasmy,
hypoactive sexual desire disorder and decreased libido.

® any ingredient(s) in a compounded Prescription Drug
Product that has not been approved by the U.S. Food and
Drug Administration (FDA).

e medications available over-the-counter that do not require a
Prescription Order or Refill by federal or state law before
being dispensed, unless state or federal law requires
coverage of such medications or the over-the-counter
medication has been designated as eligible for coverage as if
it were a Prescription Drug Product.

e certain Prescription Drug Products that are a Therapeutic
Equivalent or Therapeutic Alternative to an over-the-
counter drug(s), or are available in over-the-counter form.
Such coverage determinations may be made periodically,
and benefits for a Prescription Drug Product that was
previously excluded under this provision may be reinstated
at any time.

e any product for which the primary use is a source of
nutrition, nutritional supplements, or dietary management of
disease, even when used for the treatment of Sickness or
Injury, unless coverage for such product(s) is required by
federal or state law.

e immunization agents, biological products for allergy
immunization, biological sera, blood, blood plasma and
other blood products or fractions and medications used for
travel prophylaxis.

e certain Prescription Drug Products that are a Therapeutic
Equivalent or Therapeutic Alternative to another covered
Prescription Drug Product(s). Such coverage determinations
may be made periodically, and benefits for a Prescription
Drug Product that was previously excluded under this
provision may be reinstated at any time.

e medications that are experimental investigational or
unproven as described under the “General Exclusion and
Limitations” section of your plan’s certificate.

10-16
Vi

HC-PHR139

Reimbursement/Filing a Claim
Retail Pharmacy

When you or your Dependents purchase your Prescription
Drug Products through a retail Network Pharmacy, you pay
any applicable Copayment, Coinsurance or Deductible shown
in The Schedule at the time of purchase. You do not need to
file a claim form unless you purchase a Prescription Drug
Product at a non-Network Pharmacy.

Home Delivery Pharmacy

To purchase Prescription Drug Products from a home delivery
Network Pharmacy, see your home delivery drug introductory
kit for details, or contact member services for assistance.

HC-PHR140 10-16

Exclusions, Expenses Not Covered and
General Limitations

Exclusions and Expenses Not Covered

Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the
following is specifically excluded from this plan:

e care for health conditions that are required by state or local
law to be treated in a public facility.

e care required by state or federal law to be supplied by a
public school system or school district.

e care for military service disabilities treatable through
governmental services if you are legally entitled to such
treatment and facilities are reasonably available.

e treatment of an Injury or Sickness which is due to war,
declared, or undeclared, riot or insurrection.

« charges which you are not obligated to pay or for which you
are not billed or for which you would not have been billed
except that they were covered under this plan. For example,
if Cigna determines that a provider or pharmacy is or has
waived, reduced, or forgiven any portion of its charges
and/or any portion of copayment, deductible, and/or
coinsurance amount(s) you are required to pay for a
Covered Expense (as shown on The Schedule) without
Cigna’s express consent, then Cigna in its sole discretion
shall have the right to deny the payment of benefits in
connection with the Covered Expense, or reduce the
benefits in proportion to the amount of the copayment,
deductible, and/or coinsurance amounts waived, forgiven or
reduced, regardless of whether the provider or pharmacy
represents that you remain responsible for any amounts that
your plan does not cover. In the exercise of that discretion,
Cigna shall have the right to require you to provide proof

 

46

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page9Yof26 PagelD 57

wie,

A€ Cigna.

 

sufficient to Cigna that you have made your required cost
share payment(s) prior to the payment of any benefits by
Cigna. This exclusion includes, but is not limited to, charges
of a non-Participating Provider who has agreed to charge
you or charged you at an in-network benefits level or some
other benefits level not otherwise applicable to the services
received. Provided further, if you use a coupon provided by
a pharmaceutical manufacturer or other third party that
discounts the cost of a prescription medication or other
product, Cigna may, in its sole discretion, reduce the
benefits provided under the plan in proportion to the amount
of the Copayment, Deductible, and/or Coinsurance amounts
to which the value of the coupon has been applied by the
Pharmacy or other third party, and/or exclude from
accumulation toward any plan Deductible or Out-of-Pocket
Maximum the value of any coupon applied to any
Copayment, Deductible and/or Coinsurance you are
required to pay.

e charges arising out of or relating to any violation of a
healthcare-related state or federal law or which themselves
are a violation of a healthcare-related state or federal law.

® assistance in the activities of daily living, including but
not limited to eating, bathing, dressing or other Custodial
Services or self-care activities, homemaker services and
services primarily for rest, domiciliary or convalescent
care.

e for or in connection with experimental, investigational or
unproven services.

Experimental, investigational and unproven services are
medical, surgical, diagnostic, psychiatric, substance use
disorder or other health care technologies, supplies,
treatments, procedures, drug or Biologic therapies or
devices that are determined by the utilization review
Physician to be:

e not approved by the U.S. Food and Drug Administration
(FDA) or other appropriate regulatory agency to be
lawfully marketed;

* not demonstrated, through existing peer-reviewed,
evidence-based, scientific literature to be safe and
effective for treating or diagnosing the condition or
Sickness for which its use is proposed;

e the subject of review or approval by an Institutional
Review Board for the proposed use except as provided in
the “Clinical Trials” section(s) of this plan; or

the subject of an ongoing phase I, IJ or II clinical trial,
except for routine patient care costs related to qualified
clinical trials as provided in the “Clinical Trials”
section(s) of this plan.

In determining whether drug or Biologic therapies are
experimental, investigational and unproven, the utilization
review Physician may review, without limitation, U.S. Food

and Dmg Administration-approved labeling, the standard
medical reference compendia and peer-reviewed, evidence-
based scientific literature.

e cosmetic surgery and therapies. Cosmetic surgery or therapy
is defined as surgery or therapy performed to improve or
alter appearance or self-esteem.

e The following services are excluded from coverage
regardless of clinical indications: abdominoplasty;
panniculectomy; rhinoplasty; blepharoplasty; redundant
skin surgery; removal of skin tags; acupressure;
craniosacral/cranial therapy; dance therapy, movement
therapy; applied kinesiology; rolfing; prolotherapy; and
extracorporeal shock wave lithotripsy (ESWL) for
musculoskeletal and orthopedic conditions.

° dental treatment of the teeth, gums or structures directly
supporting the teeth, including dental X-rays, examinations,
repairs, orthodontics, periodontics, casts, splints and
services for dental malocclusion, for any condition. Charges
made for services or supplies provided for or in connection
with an accidental Injury to teeth are covered provided a
continuous course of dental treatment is started within six
months of an accident.

e medical and surgical services, initial and repeat, intended
for the treatment or control of obesity, except for treatment
of clinically severe (morbid) obesity as shown in Covered
Expenses, including: medical and surgical services to alter
appearance or physical changes that are the result of any
surgery performed for the management of obesity or
clinically severe (morbid) obesity; and weight loss programs
or treatments, whether prescribed or recommended by a
Physician or under medical supervision.

* unless otherwise covered in this plan, for reports,
evaluations, physical examinations, or hospitalization not
required for health reasons including, but not limited to,
employment, insurance or government licenses, and court-
ordered, forensic or custodial evaluations.

e court-ordered treatment or hospitalization, unless such
treatment is prescribed by a Physician and listed as covered
in this plan.

® any services or supplies for the treatment of male or female
sexual dysfunction such as, but not limited to, treatment of
erectile dysfunction (including penile implants), anorgasmy,
and premature ejaculation.

e medical and Hospital care and costs for the infant child of a
Dependent, unless this infant child is otherwise eligible
under this plan.

* non-medical counseling and/or ancillary services, including
but not limited to, Custodial Services, educational services,
vocational counseling, training and rehabilitation services,
behavioral training, biofeedback, neurofeedback, hypnosis,

 

47

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

3 Cigna.

Filed 06/26/20 Page 100f 26 PagelD 58

 

sleep therapy, return to work services, work hardening
programs and driver safety courses.

therapy or treatment intended primarily to improve or
maintain general physical condition or for the purpose of
enhancing job, school, athletic or recreational performance,
including but not limited to routine, long term, or
maintenance care which is provided after the resolution of
the acute medical problem and when significant therapeutic
improvement is not expected.

consumable medical supplies other than ostomy supplies
and urinary catheters. Excluded supplies include, but are not
limited to bandages and other disposable medical supplies,
skin preparations and test strips, except as specified in the
“Home Health Services” or “Breast Reconstruction and
Breast Prostheses” sections of this plan.

private Hospital rooms and/or private duty nursing except as
provided under the Home Health Services provision.

personal or comfort items such as personal care kits
provided on admission to a Hospital, television, telephone,
newborn infant photographs, complimentary meals, birth
announcements, and other articles which are not for the
specific treatment of an Injury or Sickness.

artificial aids including, but not limited to, corrective
orthopedic shoes, arch supports, elastic stockings, garter
belts, corsets and dentures.

hearing aids, including but not limited to semi-implantable
hearing devices, audiant bone conductors and Bone
Anchored Hearing Aids (BAHAs). A hearing aid is any
device that amplifies sound.

aids or devices that assist with non-verbal communications,
including but not limited to communication boards,
prerecorded speech devices, laptop computers, desktop
computers, Personal Digital Assistants (PDAs), Braille
typewriters, visual alert systems for the deaf and memory
books.

eyeglass lenses and frames and contact lenses (except for
the first pair of contact lenses for treatment of keratoconus
or post-cataract surgery).

eye exercises and surgical treatment for the correction of a
refractive error, including radial keratotomy.

treatment by acupuncture.

all non-injectable prescription drugs, unless Physician
administration or oversight is required, injectable
prescription drugs to the extent they do not require
Physician supervision and are typically considered self-
administered drugs, non-prescription drugs, and
investigational and experimental drugs, except as provided
in this plan.

routine foot care, including the paring and removing of
corns and calluses or trimming of nails. However, services

associated with foot care for diabetes and peripheral
vascular disease are covered when Medically Necessary.

e membership costs or fees associated with health clubs,
weight loss programs and smoking cessation programs.

* genetic screening or pre-implantations genetic screening.
General population-based genetic screening is a testing
method performed in the absence of any symptoms or any
significant, proven risk factors for genetically linked
inheritable disease.

e dental implants for any condition.

e fees associated with the collection or donation of blood or
blood products, except for autologous donation in
anticipation of scheduled services where in the utilization
review Physician’s opinion the likelihood of excess blood
loss is such that transfusion is an expected adjunct to
surgery.

e blood administration for the purpose of general
improvement in physical condition,

e cost of biologicals that are immunizations or medications
for the purpose of travel, or to protect against occupational
hazards and risks.

e cosmetics, dietary supplements and health and beauty aids.

e all nutritional supplements and formulae except for infant
formula needed for the treatment of inborn errors of
metabolism.

e medical treatment for a person age 65 or older, who is
covered under this plan as a retiree, or their Dependent,
when payment is denied by the Medicare plan because
treatment was received from a non-Participating Provider.

e medical treatment when payment is denied by a Primary
Plan because treatment was received from a non-
Participating Provider.

e for or in connection with an Injury or Sickness arising out
of, or in the course of, any employment for wage or profit.

e telephone, email, and internet consultations, and
telemedicine.

e charges for the delivery of medical and health-related
services via telecommunications technologies, including
telephone and internet, unless provided as specifically
described under Covered Expenses.

° massage therapy.

General Limitations

No payment will be made for expenses incurred for you or any
one of your Dependents:

e for charges made by a Hospital owned or operated by or
which provides care or performs services for, the United
States Government, if such charges are directly related to a
military-service-connected Injury or Sickness.

 

48

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

é@ Cigna.

Filed 06/26/20 Page 11lof26 PagelD 59

 

e to the extent that you or any one of your Dependents is in
any way paid or entitled to payment for those expenses by
or through a public program, other than Medicaid.

e to the extent that payment is unlawful where the person
resides when the expenses are incurred.

e for charges which would not have been made if the person
had no insurance.

e to the extent that they are more than Maximum
Reimbursable Charges.

e to the extent of the exclusions imposed by any certification
requirement shown in this plan.

e expenses for supplies, care, treatment, or surgery that are
not Medically Necessary.

e charges made by any covered provider who is a member of
your or your Dependent’s family.

* expenses incurred outside the United States other than
expenses for Medically Necessary urgent or emergent care
while temporarily traveling abroad.

HC-EXC273 10-16 M

Coordination of Benefits

This section applies if you or any one of your Dependents is
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You
should file all claims with each Plan.

Definitions

For the purposes of this section, the following terms have the
meanings set forth below:

Plan

Any of the following that provides benefits or services for
medical care or treatment:

e Group insurance and/or group-type coverage, whether
insured or self-insured which neither can be purchased by
the general public, nor is individually underwritten,
including closed panel coverage.

e Coverage under Medicare and other governmental benefits
as permitted by law, excepting Medicaid and Medicare
supplement policies.

« Medical benefits coverage of group, group-type, and
individual automobile contracts.

Each Plan or part of a Plan which has the right to coordinate
benefits will be considered a separate Plan.

Closed Panel Plan

A Plan that provides medical or dental benefits primarily in
the form of services through a panel of employed or
contracted providers, and that limits or excludes benefits
provided by providers outside of the panel, except in the case
of emergency or if referred by a provider within the panel.

Primary Plan
The Plan that determines and provides or pays benefits

without taking into consideration the existence of any other
Plan.

Secondary Plan

A Plan that determines, and may reduce its benefits after
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the
Primary Plan the Reasonable Cash Value of any services it
provided to you.

Allowable Expense

The amount of charges considered for payment under the plan
for a Covered Service prior to any reductions due to
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of
Covered Services through that entity’s contracted network of
health care providers, the amount that Cigna has agreed to pay
that entity is the allowable amount used to determine your
coinsurance or deductible payments. If the Plan provides
benefits in the form of services, the Reasonable Cash Value of
each service is the Allowable Expense and is a paid benefit.

Examples of expenses or services that are not Allowable
Expenses include, but are not limited to the following:

e An expense or service or a portion of an expense or service
that is not covered by any of the Plans is not an Allowable
Expense.

e If you are confined to a private Hospital room and no Plan
provides coverage for more than a semiprivate room, the
difference in cost between a private and semiprivate room is
not an Allowable Expense.

e If you are covered by two or more Plans that provide
services or supplies on the basis of reasonable and
customary fees, any amount in excess of the highest
reasonable and customary fee is not an Allowable Expense.

e Ifyou are covered by one Plan that provides services or
supplies on the basis of reasonable and customary fees and
one Plan that provides services and supplies on the basis of
negotiated fees, the Primary Plan's fee arrangement shall be
the Allowable Expense.

e If your benefits are reduced under the Primary Plan (through
the imposition of a higher copayment amount, higher
coinsurance percentage, a deductible and/or a penalty)
because you did not comply with Plan provisions or because

 

49

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

3 Cigna.

Filed 06/26/20 Page 12 0f 26 PagelD 60

 

you did not use a preferred provider, the amount of the
reduction is not an Allowable Expense. Such Plan
provisions include second surgical opinions and
precertification of admissions or services.

Claim Determination Period

A calendar year, but does not include any part of a year during
which you are not covered under this policy or any date before
this section or any similar provision takes effect.

Reasonable Cash Value

An amount which a duly licensed provider of health care
services usually charges patients and which is within the range
of fees usually charged for the same service by other health
care providers located within the immediate geographic area
where the health care service is rendered under similar or
comparable circumstances.

Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.
If the Plan does have a coordination of benefits rule consistent
with this section, the first of the following rules that applies to
the situation is the one to use:

e The Plan that covers you as an enrollee or an employee shall
be the Primary Plan and the Plan that covers you as a
Dependent shall be the Secondary Plan;

e If you are a Dependent child whose parents are not divorced
or legally separated, the Primary Plan shall be the Plan
which covers the parent whose birthday falls first in the
calendar year as an enrollee or employee;

e If you are the Dependent of divorced or separated parents,
benefits for the Dependent shall be determined in the
following order:

e first, if a court decree states that one parent is responsible
for the child's healthcare expenses or health coverage and
the Plan for that parent has actual knowledge of the terms
of the order, but only from the time of actual knowledge;

e then, the Plan of the parent with custody of the child;

» then, the Plan of the spouse of the parent with custody of
the child;

then, the Plan of the parent not having custody of the
child, and

« finally, the Plan of the spouse of the parent not having
custody of the child.

e The Plan that covers you as an active employee (or as that
employee's Dependent) shall be the Primary Plan and the
Plan that covers you as laid-off or retired employee (or as
that employee's Dependent) shall be the secondary Plan. If
the other Plan does not have a similar provision and, as a
result, the Plans cannot agree on the order of benefit
determination, this paragraph shall not apply.

e The Plan that covers you under a right of continuation
which is provided by federal or state law shall be the
Secondary Plan and the Plan that covers you as an active
employee or retiree (or as that employee's Dependent) shall
be the Primary Plan. If the other Plan does not have a
similar provision and, as a result, the Plans cannot agree on
the order of benefit determination, this paragraph shall not
apply.

e Ifone of the Plans that covers you is issued out of the state
whose laws govern this Policy, and determines the order of
benefits based upon the gender of a parent, and as a result,
the Plans do not agree on the order of benefit determination,
the Plan with the gender rules shall determine the order of
benefits.

If none of the above rules determines the order of benefits, the
Plan that has covered you for the longer period of time shall
be primary.

When coordinating benefits with Medicare, this Plan will be
the Secondary Plan and determine benefits after Medicare,
where permitted by the Social Security Act of 1965, as
amended. However, when more than one Plan is secondary to
Medicare, the benefit determination rules identified above,
will be used to determine how benefits will be coordinated.

Effect on the Benefits of This Plan

If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a
Claim Determination Period are not more than 100% of the
total of all Allowable Expenses.

The difference between the amount that this Plan would have
paid if this Plan had been the Primary Plan, and the benefit
payments that this Plan had actually paid as the Secondary
Plan, will be recorded as a benefit reserve for you. Cigna will
use this benefit reserve to pay any Allowable Expense not
otherwise paid during the Claim Determination Period.

As each claim is submitted, Cigna will determine the
following:

e Cigna's obligation to provide services and supplies under
this policy;
e whether a benefit reserve has been recorded for you; and

e whether there are any unpaid Allowable Expenses during
the Claims Determination Period.

If there is a benefit reserve, Cigna will use the benefit reserve
recorded for you to pay up to 100% of the total of all
Allowable Expenses. At the end of the Claim Determination
Period, your benefit reserve will return to zero and a new
benefit reserve will be calculated for each new Claim
Determination Period.

 

50

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

3 Cigna.

Filed 06/26/20 Page 13o0f26 PagelD 61

 

Recovery of Excess Benefits

If Cigna pays charges for benefits that should have been paid
by the Primary Plan, or if Cigna pays charges in excess of
those for which we are obligated to provide under the Policy,
Cigna will have the right to recover the actual payment made
or the Reasonable Cash Value of any services.

Cigna will have sole discretion to seek such recovery from any
person to, or for whom, or with respect to whom, such
services were provided or such payments made by any
insurance company, healthcare plan or other organization. If
we request, you must execute and deliver to us such
instruments and documents as we determine are necessary to
secure the right of recovery.

Right to Receive and Release Information

Cigna, without consent or notice to you, may obtain
information from and release information to any other Plan
with respect to you in order to coordinate your benefits
pursuant to this section. You must provide us with any
information we request in order to coordinate your benefits
pursuant to this section. This request may occur in connection
with a submitted claim; if so, you will be advised that the
"other coverage" information, (including an Explanation of
Benefits paid under the Primary Plan) is required before the
claim will be processed for payment. If no response is
received within 90 days of the request, the claim will be
denied. If the requested information is subsequently received,
the claim will be processed.

Medicare Eligibles

Cigna will pay as the Secondary Plan as permitted by the
Social Security Act of 1965 as amended for the following:

(a) a former Employee who is eligible for Medicare and
whose insurance is continued for any reason as
provided in this plan;

(b) a former Employee's Dependent, or a former
Dependent Spouse, who is eligible for Medicare and
whose insurance is continued for any reason as
provided in this plan;

(c) an Employee whose Employer and each other
Employer participating in the Employer's plan have
fewer than 100 Employees and that Employee is
eligible for Medicare due to disability;

(d) the Dependent of an Employee whose Employer and
each other Employer participating in the Employer's
plan have fewer than 100 Employees and that
Dependent is eligible for Medicare due to disability;

(e) an Employee or a Dependent of an Employee of an
Employer who has fewer than 20 Employees, if that
person is eligible for Medicare due to age;

(f) an Employee, retired Employee, Employee's
Dependent or retired Employee's Dependent who is
eligible for Medicare due to End Stage Renal Disease
after that person has been eligible for Medicare for 30
months;

Cigna will assume the amount payable under:

e Part A of Medicare for a person who is eligible for that Part
without premium payment, but has not applied, to be the
amount he would receive if he had applied.

¢ Part B of Medicare for a person who is entitled to be
enrolled in that Part, but is not, to be the amount he would
receive if he were enrolled.

¢ Part B of Medicare for a person who has entered into a
private contract with a provider, to be the amount he would
receive in the absence of such private contract.

A person is considered eligible for Medicare on the earliest
date any coverage under Medicare could become effective for
him.

This reduction will not apply to any Employee and his
Dependent or any former Employee and his Dependent unless
he is listed under (a) through (f) above.

Domestic Partners

Under federal law, the Medicare Secondary Payer Rules do
not apply to Domestic Partners covered under a group health
plan when Medicare coverage is due to age. Therefore, when
Medicare coverage is due to age, Medicare is always the
Primary Plan for a person covered as a Domestic Partner, and
Cigna is the Secondary Plan. However, when Medicare
coverage is due to disability, the Medicare Secondary Payer
tules explained above will apply.

HC-COB135 01-17

Expenses For Which A Third Party May
Be Responsible
This plan does not cover:

e Expenses incurred by you or your Dependent (hereinafter
individually and collectively referred to as a "Participant,")
for which another party may be responsible as a result of
having caused or contributed to an Injury or Sickness.

e Expenses incurred by a Participant to the extent any
payment is received for them either directly or indirectly
from a third party tortfeasor or as a result of a settlement,
judgment or arbitration award in connection with any
automobile medical, automobile no-fault, uninsured or
underinsured motorist, homeowners, workers'
compensation, government insurance (other than Medicaid),

 

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

204,
Vag’
St

AN€é Cigna.

Filed 06/26/20 Page 14o0f26 PagelD 62

 

or similar type of insurance or coverage. The coverage
under this plan is secondary to any automobile no-fault or
similar coverage.

Subrogation/Right of Reimbursement

If a Participant incurs a Covered Expense for which, in the
opinion of the plan or its claim administrator, another party
may be responsible or for which the Participant may receive
payment as described above:

e Subrogation: The plan shall, to the extent permitted by law,
be subrogated to all rights, claims or interests that a
Participant may have against such party and shall
automatically have a lien upon the proceeds of any recovery
by a Participant from such party to the extent of any benefits
paid under the plan. A Participant or his/her representative
shall execute such documents as may be required to secure
the plan’s subrogation rights.

e Right of Reimbursement: The plan is also granted a right of
reimbursement from the proceeds of any recovery whether
by settlement, judgment, or otherwise. This right of
reimbursement is cumulative with and not exclusive of the
subrogation right granted in paragraph 1, but only to the
extent of the benefits provided by the plan.

Lien of the Plan

By accepting benefits under this plan, a Participant:

e grants a lien and assigns to the plan an amount equal to the
benefits paid under the plan against any recovery made by
or on behalf of the Participant which is binding on any
attorney or other party who represents the Participant
whether or not an agent of the Participant or of any
insurance company or other financially responsible party
against whom a Participant may have a claim provided said
attorney, insurance carrier or other party has been notified
by the plan or its agents;

e agrees that this lien shall constitute a charge against the
proceeds of any recovery and the plan shall be entitled to
assert a security interest thereon;

e agrees to hold the proceeds of any recovery in trust for the
benefit of the plan to the extent of any payment made by the
plan.

Additional Terms

¢ No adult Participant hereunder may assign any rights that it
may have to recover medical expenses from any third party
or other person or entity to any minor Dependent of said
adult Participant without the prior express written consent
of the plan. The plan’s right to recover shall apply to
decedents’, minors’, and incompetent or disabled persons’
settlements or recoveries.

e No Participant shall make any settlement, which specifically
reduces or excludes, or attempts to reduce or exclude, the
benefits provided by the plan.

e The plan’s right of recovery shall be a prior lien against any
proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the
application of any so-called “Made-Whole Doctrine”,
“Rimes Doctrine”, or any other such doctrine purporting to
defeat the plan’s recovery rights by allocating the proceeds
exclusively to non-medical expense damages.

e No Participant hereunder shall incur any expenses on behalf
of the plan in pursuit of the plan’s rights hereunder,
specifically; no court costs, attorneys’ fees or other
representatives’ fees may be deducted from the plan’s
recovery without the prior express written consent of the
plan. This right shall not be defeated by any so-called “Fund
Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
Doctrine”.

e The plan shall recover the full amount of benefits provided
hereunder without regard to any claim of fault on the part of
any Participant, whether under comparative negligence or
otherwise.

e The plan hereby disavows all equitable defenses in pursuit
of its right of recovery. The plan’s subrogation or recovery
rights are neither affected nor diminished by equitable
defenses.

e In the event that a Participant shall fail or refuse to honor its
obligations hereunder, then the plan shall be entitled to
recover any costs incurred in enforcing the terms hereof
including, but not limited to, attorney’s fees, litigation, court
costs, and other expenses. The plan shall also be entitled to
offset the reimbursement obligation against any entitlement
to future medical benefits hereunder until the Participant has
fully complied with his reimbursement obligations
hereunder, regardless of how those future medical benefits
are incurred.

e Any reference to state law in any other provision of this
plan shall not be applicable to this provision, if the plan is
governed by ERISA. By acceptance of benefits under the
plan, the Participant agrees that a breach hereof would cause
irreparable and substantial harm and that no adequate
remedy at law would exist. Further, the Plan shall be
entitled to invoke such equitable remedies as may be
necessary to enforce the terms of the plan, including, but not
limited to, specific performance, restitution, the imposition
of an equitable lien and/or constructive trust, as well as
injunctive relief.

e Participants must assist the plan in pursuing any subrogation
or recovery rights by providing requested information.

HC-SUB77 01-17

 

52

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

264,

yy

Sabie
e

A€ Cigna.

Filed 06/26/20 Page 15o0f26 PagelD 63

 

Payment of Benefits

Assignment and Payment of Benefits

You may not assign to any party, including, but not limited to,
a provider of healthcare services/items, your right to benefits
under this plan, nor may you assign any administrative,
statutory, or legal rights or causes of action you may have
under ERISA, including, but not limited to, any right to make
a claim for plan benefits, to request plan or other documents,
to file appeals of denied claims or grievances, or to file
lawsuits under ERISA. Any attempt to assign such rights shall
be void and unenforceable under all circumstances.

You may, however, authorize Cigna to pay any healthcare
benefits under this policy to a Participating or Non-
Participating Provider. When you authorize the payment of
your healthcare benefits to a Participating or Non-Participating
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid
because of accepting duplicate payments from you and Cigna,
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for
Covered Services directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare
services/items.

Even if the payment of healthcare benefits to a Non-
Participating Provider has been authorized by you, Cigna may,
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents
are responsible for reimbursing the Non-Participating
Provider.

If any person to whom benefits are payable is a minor or, in
the opinion of Cigna is not able to give a valid receipt for any
payment due him, such payment will be made to his legal
guardian. If no request for payment has been made by his legal
guardian, Cigna may, at its option, make payment to the

person or institution appearing to have assumed his custody
and support.

When one of our participants passes away, Cigna may receive
notice that an executor of the estate has been established. The
executor has the same rights as our insured and benefit
payments for unassigned claims should be made payable to the
executor.

Payment as described above will release Cigna from all
liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will
have the right at any time to: recover that overpayment from

the person to whom or on whose behalf it was made; or offset
the amount of that overpayment from a future claim payment.
In addition, your acceptance of benefits under this plan and/or
assignment of Medical Benefits separately creates an equitable
lien by agreement pursuant to which Cigna may seek recovery
of any overpayment. You agree that Cigna, in seeking
recovery of any overpayment as a contractual right or as an
equitable lien by agreement, may pursue the general assets of
the person or entity to whom or on whose behalf the
overpayment was made.

Calculation of Covered Expenses

Cigna, in its discretion, will calculate Covered Expenses
following evaluation and validation of all provider billings in
accordance with:

e the methodologies in the most recent edition of the Current
Procedural terminology.

« the methodologies as reported by generally recognized
professionals or publications.

HC-POB89 01-17

Termination of Insurance

Employees
Your insurance will cease on the earliest date below:

¢ the date you cease to be in a Class of Eligible Employees or
cease to qualify for the insurance.

e the last day for which you have made any required
contribution for the insurance.

e the date the policy is canceled.
» the last day of the calendar month in which your Active
Service ends except as described below.

Any continuation of insurance must be based on a plan which
precludes individual selection.

Temporary Layoff or Leave of Absence

If your Active Service ends due to temporary layoff or leave
of absence, your insurance will be continued until the date
your Employer cancels your insurance. However, your
insurance will not be continued for more than 60 days past the
date your Active Service ends.

Injury or Sickness

If your Active Service ends due to an Injury or Sickness, your
insurance will not continue past the date your Employer
cancels your insurance.

 

53

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

0 64,

°
aebiga
2

Sé@ Cigna.

Filed 06/26/20 Page 16 of 26 PagelD 64

 

Retirement

If your Active Service ends because you retire, and you are
under age 65, your insurance will be continued until the earlier
of: a) the date on which your Employer cancels the insurance;
or b) your 65th birthday.

Dependents

Your insurance for all of your Dependents will cease on the
earliest date below:

e the date your insurance ceases.
e the date you cease to be eligible for Dependent Insurance.

e the last day for which you have made any required
contribution for the insurance.

e the date Dependent Insurance is canceled.

The insurance for any one of your Dependents will cease on
the date that Dependent no longer qualifies as a Dependent.

HC-TRM1 04-10

VIM

Rescissions

Your coverage may not be rescinded (retroactively terminated)
by Cigna or the plan sponsor unless the plan sponsor or an
individual (or a person seeking coverage on behalf of the
individual) performs an act, practice or omission that
constitutes fraud; or the plan sponsor or individual (or a
person seeking coverage on behalf of the individual) makes an
intentional misrepresentation of material fact.

HC-TRM80 01-11

Federal Requirements

The following pages explain your rights and responsibilities
under federal laws and regulations. Some states may have
similar requirements. If a similar provision appears elsewhere
in this booklet, the provision which provides the better benefit
will apply.

HC-FEDI 10-10

Notice of Provider Directory/Networks

Notice Regarding Provider Directories and Provider
Networks

A list of network providers is available to you without charge
by visiting the website or by calling the phone number on your
ID card. The network consists of providers, including
hospitals, of varied specialties as well as general practice,
affiliated or contracted with Cigna or an organization
contracting on its behalf.

Notice Regarding Pharmacy Directories and Pharmacy
Networks

A list of network pharmacies is available to you without
charge by visiting the website or by calling the phone number
on your ID card. The network consists of pharmacies affiliated
or contracted with Cigna or an organization contracting on its
behalf.

HC-FED78 10-10

Qualified Medical Child Support Order
(QMCSO)
Eligibility for Coverage Under a QMCSO

If a Qualified Medical Child Support Order (QMCSO) is
issued for your child, that child will be eligible for coverage as
required by the order and you will not be considered a Late
Entrant for Dependent Insurance.

You must notify your Employer and elect coverage for that
child, and yourself if you are not already enrolled, within 31
days of the QMCSO being issued.

Qualified Medical Child Support Order Defined

A Qualified Medical Child Support Order is a judgment,
decree or order (including approval of a settlement agreement)
or administrative notice, which is issued pursuant to a state
domestic relations law (including a community property law),
or to an administrative process, which provides for child
support or provides for health benefit coverage to such child
and relates to benefits under the group health plan, and
satisfies all of the following:

e the order recognizes or creates a child’s right to receive
group health benefits for which a participant or beneficiary
is eligible;

e the order specifies your name and last known address, and
the child’s name and last known address, except that the
name and address of an official of a state or political
subdivision may be substituted for the child’s mailing
address;

 

54

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

4# Cigna.

Filed 06/26/20 Page 17of26 PagelD 65

 

e the order provides a description of the coverage to be
provided, or the manner in which the type of coverage is to
be determined;

e the order states the period to which it applies; and

e if the order is a National Medical Support Notice completed
in accordance with the Child Support Performance and
Incentive Act of 1998, such Notice meets the requirements
above.

The QMCSO may not require the health insurance policy to
provide coverage for any type or form of benefit or option not
otherwise provided under the policy, except that an order may
require a plan to comply with State laws regarding health care
coverage.

Payment of Benefits

Any payment of benefits in reimbursement for Covered
Expenses paid by the child, or the child’s custodial parent or
legal guardian, shall be made to the child, the child’s custodial
parent or legal guardian, or a state official whose name and
address have been substituted for the name and address of the
child.

HC-FED4 10-10

Special Enrollment Rights Under the Health
Insurance Portability & Accountability Act
(HIPAA)

If you or your eligible Dependent(s) experience a special
enrollment event as described below, you or your eligible
Dependent(s) may be entitled to enroll in the Plan outside of a
designated enrollment period upon the occurrence of one of
the special enrollment events listed below. If you are already
enrolled in the Plan, you may request enrollment for you and
your eligible Dependent(s) under a different option offered by
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible
Dependent(s). You and all of your eligible Dependent(s) must
be covered under the same option. The special enrollment
events include:

« Acquiring a new Dependent. If you acquire a new
Dependent(s) through marriage, birth, adoption or
placement for adoption, you may request special enrollment
for any of the following combinations of individuals if not
already enrolled in the Plan: Employee only; spouse only;
Employee and spouse; Dependent child(ren) only;
Employee and Dependent child(ren); Employee, spouse and
Dependent child(ren). Enrollment of Dependent children is
limited to the newborn or adopted children or children who

became Dependent children of the Employee due to
marriage.

e Loss of eligibility for State Medicaid or Children’s
Health Insurance Program (CHIP). If you and/or your
Dependent(s) were covered under a state Medicaid or CHIP
plan and the coverage is terminated due to a loss of
eligibility, you may request special enrollment for yourself
and any affected Dependent(s) who are not already enrolled
in the Plan. You must request enrollment within 60 days
after termination of Medicaid or CHIP coverage.

Loss of eligibility for other coverage (excluding
continuation coverage). If coverage was declined under
this Plan due to coverage under another plan, and eligibility
for the other coverage is lost, you and all of your eligible
Dependent(s) may request special enrollment in this Plan. If
required by the Plan, when enrollment in this Plan was
previously declined, it must have been declined in writing
with a statement that the reason for declining enrollment
was due to other health coverage. This provision applies to
loss of eligibility as a result of any of the following:

e divorce or legal separation;

e cessation of Dependent status (such as reaching the
limiting age);

e death of the Employee;

e termination of employment;

e reduction in work hours to below the minimum required
for eligibility;

e you or your Dependent(s) no longer reside, live or work
in the other plan’s network service area and no other
coverage is available under the other plan;

* you or your Dependent(s) incur a claim which meets or
exceeds the lifetime maximum limit that is applicable to
all benefits offered under the other plan; or

e the other plan no longer offers any benefits to a class of
similarly situated individuals.

* Termination of Employer contributions (excluding
continuation coverage). If a current or former Employer
ceases all contributions toward the Employee’s or
Dependent’s other coverage, special enrollment may be
requested in this Plan for you and all of your eligible
Dependent(s).

e Exhaustion of COBRA or other continuation coverage.

Special enrollment may be requested in this Plan for you

and all of your eligible Dependent(s) upon exhaustion of
COBRA or other continuation coverage. If you or your
Dependent(s) elect COBRA or other continuation coverage
following loss of coverage under another plan, the COBRA
or other continuation coverage must be exhausted before
any special enrollment rights exist under this Plan. An
individual is considered to have exhausted COBRA or other

 

a5

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 18 of 26 PagelD 66

2 Os,
shoes

N€é Cigna.

 

continuation coverage only if such coverage ceases: due to
failure of the Employer or other responsible entity to remit
premiums on a timely basis; when the person no longer
resides or works in the other plan’s service area and there is
no other COBRA or continuation coverage available under
the plan; or when the individual incurs a claim that would
meet or exceed a lifetime maximum limit on all benefits and
there is no other COBRA or other continuation coverage
available to the individual. This does not include
termination of an Employer’s limited period of
contributions toward COBRA or other continuation
coverage as provided under any severance or other
agreement.

° Eligibility for employment assistance under State
Medicaid or Children’s Health Insurance Program
(CHIP). If you and/or your Dependent(s) become eligible
for assistance with group health plan premium payments
under a state Medicaid or CHIP plan, you may request
special enrollment for yourself and any affected
Dependent(s) who are not already enrolled in the Plan. You
must request enrollment within 60 days after the date you
are determined to be eligible for assistance.

Except as stated above, special enrollment must be
requested within 31 days after the occurrence of the
special enrollment event. If the special enrollment event is
the birth or adoption of a Dependent child, coverage will
be effective immediately on the date of birth, adoption or
placement for adoption. Coverage with regard to any other
special enrollment event will be effective no later than the
first day of the first calendar month following receipt of
the request for special enrollment.

Domestic Partners and their children (if not legal children of
the Employee) are not eligible for special enrollment.

HC-FED90

Effect of Section 125 Tax Regulations on This
Plan

Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax
salary reduction put toward the cost of your benefits.
Otherwise, you will receive your taxable earnings as cash
(salary).

A. Coverage Elections

Per Section 125 regulations, you are generally allowed to
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed if your Employer

agrees and you enroll for or change coverage within 31 days
of the following:

e the date you meet the Special Enrollment criteria described
above; or

e the date you meet the criteria shown in the following
Sections B through H.

B. Change of Status
A change in status is defined as:

e change in legal marital status due to marriage, death of a
spouse, divorce, annulment or legal separation;

e change in number of Dependents due to birth, adoption,
placement for adoption, or death of a Dependent;

e change in employment status of Employee, spouse or
Dependent due to termination or start of employment,
strike, lockout, beginning or end of unpaid leave of absence,
including under the Family and Medical Leave Act
(FMLA), or change in worksite;

e changes in employment status of Employee, spouse or
Dependent resulting in eligibility or ineligibility for
coverage;

e change in residence of Employee, spouse or Dependent to a
location outside of the Employer’s network service area;
and

e changes which cause a Dependent to become eligible or
ineligible for coverage.

C. Court Order

A change in coverage due to and consistent with a court order
of the Employee or other person to cover a Dependent.

D. Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent cancels or reduces
coverage due to entitlement to Medicare or Medicaid, or
enrolls or increases coverage due to loss of Medicare or
Medicaid eligibility.

E. Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit
period, your Employer may, in accordance with plan terms,
automatically change your elective contribution.

When the change in cost is significant, you may either
increase your contribution or elect less-costly coverage. When
a significant overall reduction is made to the benefit option
you have elected, you may elect another available benefit
option. When a new benefit option is added, you may change
your election to the new benefit option.

F. Changes in Coverage of Spouse or Dependent Under
Another Employer’s Plan

You may make a coverage election change if the plan of your
spouse or Dependent: incurs a change such as adding or

 

56

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

¥@ Cigna.

Filed 06/26/20 Page 19o0f26 PagelD 67

 

deleting a benefit option; allows election changes due to
Special Enrollment, Change in Status, Court Order or
Medicare or Medicaid Eligibility/Entitlement; or this Plan and
the other plan have different periods of coverage or open
enrollment periods.

G. Reduction in work hours

If an Employee’s work hours are reduced below 30

hours/week (even if it does not result in the Employee losing
eligibility for the Employer’s coverage); and the Employee
(and family) intend to enroll in another plan that provides
Minimum Essential Coverage (MEC). The new coverage must
be effective no later than the 1" day of the 2™ month following
the month that includes the date the original coverage is
revoked.

H. Enrollment in Qualified Health Plan (QHP)

The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace
during the Marketplace’s annual open enrollment period; and
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP
through a Marketplace for new coverage effective beginning
no later than the day immediately following the last day of the
original coverage.

HC-FED91 04-17

Eligibility for Coverage for Adopted Children

Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that
child, totally or partially, prior to that child’s adoption.

Ifa child placed for adoption is not adopted, all health
coverage ceases when the placement ends, and will not be
continued.

The provisions in the “Exception for Newborns” section of
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.

HC-FED67 09-14

Coverage for Maternity Hospital Stay

Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal

law known as the “Newborns” and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96
hours following a cesarean section; or require that a provider
obtain authorization from the plan or insurance issuer for
prescribing a length of stay not in excess of the above periods.
The law generally does not prohibit an attending provider of
the mother or newborm, in consultation with the mother, from
discharging the mother or newborn earlier than 48 or 96 hours,
as applicable.

Please review this Plan for further details on the specific
coverage available to you and your Dependents.

HC-FEDI1 10-10

Women’s Health and Cancer Rights Act
(WHCRA)

Do you know that your plan, as required by the Women’s
Health and Cancer Rights Act of 1998, provides benefits for
mastectomy-related services including all stages of
reconstruction and surgery to achieve symmetry between the
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more
information.

HC-FED12 10-10

Group Plan Coverage Instead of Medicaid

If your income and liquid resources do not exceed certain
limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is
cost effective. This includes premiums for continuation
coverage required by federal law.

HC-FED!3 10-10

 

oF

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

RY

Aé Cigna.

Filed 06/26/20 Page 200f 26 PagelD 68

 

Requirements of Medical Leave Act of 1993 (as
amended) (FMLA)

Any provisions of the policy that provide for: continuation of
insurance during a leave of absence; and reinstatement of
insurance following a return to Active Service; are modified
by the following provisions of the federal Family and Medical
Leave Act of 1993, as amended, where applicable:

Continuation of Health Insurance During Leave

Your health insurance will be continued during a leave of
absence if;

e that leave qualifies as a leave of absence under the Family
and Medical Leave Act of 1993, as amended; and

* you are an eligible Employee under the terms of that Act.

The cost of your health insurance during such leave must be
paid, whether entirely by your Employer or in part by you and
your Employer.

Reinstatement of Canceled Insurance Following Leave

Upon your return to Active Service following a leave of
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life
or disability) will be reinstated as of the date of your return.

You will not be required to satisfy any eligibility or benefit
waiting period to the extent that they had been satisfied prior
to the start of such leave of absence.

Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.

HC-FED17 10-10

Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)

The Uniformed Services Employment and Re-employment
Rights Act of 1994 (USERRA) sets requirements for
continuation of health coverage and re-employment in regard
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you
and your Dependents. They do not apply to any Life, Short-
term or Long-term Disability or Accidental Death &
Dismemberment coverage you may have.

Continuation of Coverage

For leaves of less than 31 days, coverage will continue as
described in the Termination section regarding Leave of
Absence.

For leaves of 31 days or more, you may continue coverage for
yourself and your Dependents as follows:

You may continue benefits by paying the required premium to
your Employer, until the earliest of the following:

e 24 months from the last day of employment with the
Employer;

e the day after you fail to return to work; and

e the date the policy cancels.

Your Employer may charge you and your Dependents up to
102% of the total premium.

Reinstatement of Benefits (applicable to all coverages)

If your coverage ends during the leave of absence because you
do not elect USERRA at the expiration of USERRA and you
are reemployed by your current Employer, coverage for you
and your Dependents may be reinstated if you gave your
Employer advance written or verbal notice of your military
service leave, and the duration of all military leaves while you
are employed with your current Employer does not exceed 5
years.

You and your Dependents will be subject to only the balance
of a waiting period that was not yet satisfied before the leave
began. However, if an Injury or Sickness occurs or is
aggravated during the military leave, full Plan limitations will
apply.

If your coverage under this plan terminates as a result of your
eligibility for military medical and dental coverage and your
order to active duty is canceled before your active duty service
commences, these reinstatement rights will continue to apply.

HC-FEDI8 10-10

Claim Determination Procedures under ERISA

The following complies with federal law. Provisions of
applicable laws of your state may supersede.

Procedures Regarding Medical Necessity Determinations

In general, health services and benefits must be Medically
Necessary to be covered under the plan. The procedures for
determining Medical Necessity vary, according to the type of
service or benefit requested, and the type of health plan.
Medical Necessity determinations are made on a preservice,
concurrent, or postservice basis, as described below:

Certain services require prior authorization in order to be
covered. The booklet describes who is responsible for
obtaining this review. You or your authorized representative
(typically, your health care professional) must request prior
authorization according to the procedures described below, in

 

58

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

264,
sheees
>

*

Né Cigna.

Filed 06/26/20 Page 210f26 PagelD 69

 

the booklet, and in your provider’s network participation
documents as applicable.

When services or benefits are determined to be not covered,
you or your representative will receive a written description of
the adverse determination, and may appeal the determination.
Appeal procedures are described in the booklet, in your
provider’s network participation documents as applicable, and
in the determination notices.

Preservice Determinations

When you or your representative requests a required prior
authorization, Cigna will notify you or your representative of
the determination within 15 days after receiving the request.
However, if more time is needed due to matters beyond
Cigna’s control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will
include the date a determination can be expected, which will
be no more than 30 days after receipt of the request. If more
time is needed because necessary information is missing from
the request, the notice will also specify what information is
needed, and you or your representative must provide the
specified information to Cigna within 45 days after receiving
the notice. The determination period will be suspended on the
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your
representative responds to the notice.

If the determination periods above would seriously jeopardize
your life or health, your ability to regain maximum function,
or in the opinion of a health care professional with knowledge
of your health condition, cause you severe pain which cannot
be managed without the requested services, Cigna will make
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care
professional regarding whether an expedited determination is
necessary. Cigna will notify you or your representative of an
expedited determination within 72 hours after receiving the
request.

However, if necessary information is missing from the
request, Cigna will notify you or your representative within 24
hours after receiving the request to specify what information is
needed, You or your representative must provide the specified
information to Cigna within 48 hours after receiving the
notice. Cigna will notify you or your representative of the
expedited benefit determination within 48 hours after you or
your representative responds to the notice. Expedited
determinations may be provided orally, followed within 3 days
by written or electronic notification.

If you or your representative fails to follow Cigna’s
procedures for requesting a required preservice determination,
Cigna will notify you or your representative of the failure and
describe the proper procedures for filing within 5 days (or 24
hours, if an expedited determination is required, as described
above) after receiving the request. This notice may be

provided orally, unless you or your representative requests
written notification.

Concurrent Determinations

When an ongoing course of treatment has been approved for
you and you wish to extend the approval, you or your
representative must request a required concurrent coverage
determination at least 24 hours prior to the expiration of the
approved period of time or number of treatments. When you
or your representative requests such a determination, Cigna
will notify you or your representative of the determination
within 24 hours after receiving the request.

Postservice Determinations

When you or your representative requests a coverage
determination or a claim payment determination after services
have been rendered, Cigna will notify you or your
representative of the determination within 30 days after
receiving the request. However, if more time is needed to
make a determination due to matters beyond Cigna’s control,
Cigna will notify you or your representative within 30 days
after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45
days after receipt of the request.

If more time is needed because necessary information is
missing from the request, the notice will also specify what
information is needed, and you or your representative must
provide the specified information to Cigna within 45 days
after receiving the notice. The determination period will be
suspended on the date Cigna sends such a notice of missing
information, and the determination period will resume on the
date you or your representative responds to the notice.

Notice of Adverse Determination

Every notice of an adverse benefit determination will be
provided in writing or electronically, and will include all of
the following that pertain to the determination: information
sufficient to identify the claim including, if applicable, the
date of service, provider and claim amount; diagnosis and
treatment codes, and their meanings; the specific reason or
reasons for the adverse determination including, if applicable,
the denial code and its meaning and a description of any
standard that was used in the denial; reference to the specific
plan provisions on which the determination is based; a
description of any additional material or information necessary
to perfect the claim and an explanation of why such material
or information is necessary; a description of the plan’s review
procedures and the time limits applicable, including a
statement of a claimant’s rights to bring a civil action under
section 502(a) of ERISA following an adverse benefit
determination on appeal, (if applicable); upon request and free
of charge, a copy of any internal rule, guideline, protocol or
other similar criterion that was relied upon in making the
adverse determination regarding your claim; and an

 

59

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

Filed 06/26/20 Page 22 of 26 PagelD 70

 

explanation of the scientific or clinical judgment for a
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a
description of any available internal appeal and/or external
review process(es); information about any office of health
insurance consumer assistance or ombudsman available to
assist you with the appeal process; and in the case of a claim
involving urgent care, a description of the expedited review
process applicable to such claim.

HC-FED79 03-13

Appointment of Authorized Representative

You may appoint an authorized representative to assist you in
submitting a claim or appealing a claim denial. However,
Cigna may require you to designate your authorized
representative in writing using a form approved by Cigna. At
all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains
valid, Cigna may require you to re-appoint your authorized
representative, from time to time.

Cigna reserves the right to refuse to honor the appointment of
a representative if Cigna reasonably determines that:

© the signature on an authorized representative form may not
be yours, or

e the authorized representative may not have disclosed to you
all of the relevant facts and circumstances relating to the
overpayment or underpayment of any claim, including, for
example, that the billing practices of the provider of medical
services may have jeopardized your coverage through the
waiver of the cost-sharing amounts that you are required to
pay under your plan.

If your designation of an authorized representative is revoked,

or Cigna does not honor your designation, you may appoint a

new authorized representative at any time, in writing, using a

form approved by Cigna.

HC-FED8&8 01-17

Medical - When You Have a Complaint or an
Appeal

For the purposes of this section, any reference to "you" or
"your" also refers to a representative or provider designated by
you to act on your behalf; unless otherwise noted.

We want you to be completely satisfied with the care you

receive. That is why we have established a process for
addressing your concerns and solving your problems.

Start With Customer Service

We are here to listen and help. If you have a concern
regarding a person, a service, the quality of care, contractual
benefits, or a rescission of coverage, you may call the toll-
free number on your ID card, explanation of benefits, or
claim form and explain your concern to one of our Customer
Service representatives. You may also express that concern
in writing.

We will do our best to resolve the matter on your initial
contact. If we need more time to review or investigate your
concern, we will get back to you as soon as possible, but in
any case within 30 days. If you are not satisfied with the
results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure

To initiate an appeal, you must submit a request for an appeal
in writing to Cigna within 180 days of receipt of a denial
notice. You should state the reason why you feel your appeal
should be approved and include any information supporting
your appeal. If you are unable or choose not to write, you may
ask Cigna to register your appeal by telephone. Call or write
us at the toll-free number on your ID card, explanation of
benefits, or claim form.

Your appeal will be reviewed and the decision made by
someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will
be considered by a health care professional.

We will respond in writing with a decision within 30 calendar
days after we receive an appeal for a required preservice or
concurrent care coverage determination or a postservice
Medical Necessity determination. We will respond within 60
calendar days after we receive an appeal for any other
postservice coverage determination. If more time or
information is needed to make the determination, we will
notify you in writing to request an extension of up to 15
calendar days and to specify any additional information
needed to complete the review.

In the event any new or additional information (evidence) is
considered, relied upon or generated by Cigna in connection
with the appeal, this information will be provided
automatically to you as soon as possible and sufficiently in
advance of the decision, so that you will have an opportunity
to respond. Also, if any new or additional rationale is
considered by Cigna, Cigna will provide the rationale to you
as soon as possible and sufficiently in advance of the decision
so that you will have an opportunity to respond.

You may request that the appeal process be expedited if, (a)
the time frames under this process would seriously jeopardize
your life, health or ability to regain maximum functionality or
in the opinion of your health care provider would cause you
severe pain which cannot be managed without the requested

 

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

aii,

A€é Cigna.

Filed 06/26/20 Page 23 0f 26 PagelD 71

 

services; or (b) your appeal involves nonauthorization of an
admission or continuing inpatient Hospital stay.

If you request that your appeal be expedited based on (a)
above, you may also ask for an expedited external review at
the same time, if the time to complete an expedited review
would be detrimental to your medical condition.

When an appeal is expedited, Cigna will respond orally with a
decision within 72 hours, followed up in writing.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's
internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that
your appeal be referred to an Independent Review
Organization ([RO). The IRO is composed of persons who are
not employed by Cigna, or any of its affiliates. A decision to
request an external review to an IRO will not affect the
claimant's rights to any other benefits under the plan.

There is no charge for you to initiate an external review. Cigna
and your benefit plan will abide by the decision of the IRO.

To request a review, you must notify the Appeals Coordinator
within 4 months of your receipt of Cigna's appeal review
denial. Cigna will then forward the file to a randomly selected
IRO. The IRO will render an opinion within 45 days.

When requested, and if a delay would be detrimental to your
medical condition, as determined by Cigna's reviewer, or if
your appeal concerns an admission, availability of care,
continued stay, or health care item or service for which you
received emergency services, but you have not yet been
discharged from a facility, the external review shall be
completed within 72 hours.

Notice of Benefit Determination on Appeal

Every notice of a determination on appeal will be provided in
writing or electronically and, if an adverse determination, will
include: information sufficient to identify the claim including,
if applicable, the date of service, provider and claim amount;
diagnosis and treatment codes, and their meanings; the
specific reason or reasons for the adverse determination
including, if applicable, the denial code and its meaning and a
description of any standard that was used in the denial;
reference to the specific plan provisions on which the
determination is based; a statement that the claimant is entitled
to receive, upon request and free of charge, reasonable access
to and copies of all documents, records, and other Relevant
Information as defined below; a statement describing any
voluntary appeal procedures offered by the plan and the
claimant’s right to bring an action under ERISA section
502(a), if applicable; upon request and free of charge, a copy
of any internal rule, guideline, protocol or other similar
criterion that was relied upon in making the adverse
determination regarding your appeal, and an explanation of the
scientific or clinical judgment for a determination that is based

on a Medical Necessity, experimental treatment or other
similar exclusion or limit; and information about any office of
health insurance consumer assistance or ombudsman available
to assist you in the appeal process. A final notice of an adverse
determination will include a discussion of the decision.

You also have the right to bring a civil action under section
502(a) of ERISA if you are not satisfied with the decision on
review. You or your plan may have other voluntary alternative
dispute resolution options such as Mediation. One way to find
out what may be available is to contact your local U.S.
Department of Labor office and your State insurance
regulatory agency. You may also contact the Plan
Administrator.

Relevant Information

Relevant Information is any document, record or other
information which: was relied upon in making the benefit
determination; was submitted, considered or generated in the
course of making the benefit determination, without regard to
whether such document, record, or other information was
relied upon in making the benefit determination; demonstrates
compliance with the administrative processes and safeguards
required by federal law in making the benefit determination;
or constitutes a statement of policy or guidance with respect to
the plan concerning the denied treatment option or benefit for
the claimant's diagnosis, without regard to whether such
advice or statement was relicd upon in making the benefit
determination.

Legal Action

If your plan is governed by ERISA, you have the right to bring
a civil action under section 502(a) of ERISA if you are not
satisfied with the outcome of the Appeals Procedure. In most
instances, you may not initiate a legal action against Cigna
until you have completed the appeal processes. However, no
action will be brought at all unless brought within three years
after proof of claim is required under the Plan. However, no
action will be brought at all unless brought within 3 years after
a claim is submitted for In-Network Services or within three
years after proof of claim is required under the Plan for Out-
of-Network services.

HC-FED82 03-14

COBRA Continuation Rights Under Federal
Law

For You and Your Dependents

What is COBRA Continuation Coverage?

Under federal law, you and/or your Dependents must be given
the opportunity to continue health insurance when there is a
“qualifying event” that would result in loss of coverage under

 

61

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2

ws oe

Aé Cigna.

Filed 06/26/20 Page 24o0f 26 PagelD 72

 

the Plan. You and/or your Dependents will be permitted to
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying
event occurred, unless you move out of that plan’s coverage
area or the plan is no longer available. You and/or your
Dependents cannot change coverage options until the next
open enrollment period.

When is COBRA Continuation Available?

For you and your Dependents, COBRA continuation is
available for up to 18 months from the date of the following
qualifying events if the event would result in a loss of
coverage under the Plan:

* your termination of employment for any reason, other than
gross misconduct; or

® your reduction in work hours.

For your Dependents, COBRA continuation coverage is
available for up to 36 months from the date of the following
qualifying events if the event would result in a loss of
coverage under the Plan:

e your death;
e your divorce or legal separation; or

e for a Dependent child, failure to continue to qualify as a
Dependent under the Plan.

Who is Entitled to COBRA Continuation?

Only a “qualified beneficiary” (as defined by federal law) may
elect to continue health insurance coverage. A qualified
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:
you, your spouse, and your Dependent children. Each
qualified beneficiary has their own right to elect or decline
COBRA continuation coverage even if you decline or are not
eligible for COBRA continuation.

The following individuals are not qualified beneficiaries for
purposes of COBRA continuation: domestic partners,
grandchildren (unless adopted by you), stepchildren (unless
adopted by you). Although these individuals do not have an
independent right to elect COBRA continuation coverage, if
you elect COBRA continuation coverage for yourself, you
may also cover your Dependents even if they are not
considered qualified beneficiaries under COBRA. However,
such individuals’ coverage will terminate when your COBRA
continuation coverage terminates. The sections titled
“Secondary Qualifying Events” and “Medicare Extension For
Your Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction
in work hours, your Dependent(s) have elected COBRA
continuation coverage and one or more Dependents experience
another COBRA qualifying event, the affected Dependent(s)

may elect to extend their COBRA continuation coverage for
an additional 18 months (7 months if the secondary event
occurs within the disability extension period) for a maximum
of 36 months from the initial qualifying event. The second
qualifying event must occur before the end of the initial 18
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no
circumstances will COBRA continuation coverage be
available for more than 36 months from the initial qualifying
event. Secondary qualifying events are: your death; your
divorce or legal separation; or, for a Dependent child, failure
to continue to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your
termination of employment or reduction in work hours, you or
one of your Dependents is determined by the Social Security
Administration (SSA) to be totally disabled under Title II or
XVI of the SSA, you and all of your Dependents who have
elected COBRA continuation coverage may extend such
continuation for an additional 11 months, for a maximum of
29 months from the initial qualifying event.

To qualify for the disability extension, all of the following
requirements must be satisfied:

e SSA must determine that the disability occurred prior to or
within 60 days after the disabled individual elected COBRA
continuation coverage; and

e A copy of the written SSA determination must be provided
to the Plan Administrator before the end of the initial 18-
month contribution period.

If the SSA later determines that the individual is no longer
disabled, you must notify the Plan Administrator within 30
days after the date the final determination is made by SSA.
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.

All causes for “Termination of COBRA Continuation” listed
below will also apply to the period of disability extension.

Medicare Extension for Your Dependents

When the qualifying event is your termination of employment
or reduction in work hours and you became enrolled in
Medicare (Part A, Part B or both) within the 18 months before
the qualifying event, COBRA continuation coverage for your
Dependents will last for up to 36 months after the date you
became enrolled in Medicare. Your COBRA continuation
coverage will last for up to 18 months from the date of your
termination of employment or reduction in work hours.

 

62

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 25o0f26 PagelD 73

ite

Aé Cigna.

 

Termination of COBRA Continuation

COBRA continuation coverage will be terminated upon the
occurrence of any of the following:

e the end of the COBRA continuation period of 18, 29 or 36
months, as applicable;

e failure to pay the required premium within 30 calendar days
after the due date;

¢ cancellation of the Employer’s policy with Cigna;

¢ after electing COBRA continuation coverage, a qualified
beneficiary enrolls in Medicare (Part A, Part B, or both);

e after electing COBRA continuation coverage, a qualified
beneficiary becomes covered under another group health
plan, unless the qualified beneficiary has a condition for
which the new plan limits or excludes coverage under a pre-
existing condition provision. In such case coverage will
continue until the earliest of: the end of the applicable
maximum period; the date the pre-existing condition
provision is no longer applicable; or the occurrence of an
event described in one of the first three bullets above;

* any reason the Plan would terminate coverage of a
participant or beneficiary who is not receiving continuation
coverage (e.g., fraud).

Moving Out of Employer’s Service Area or Elimination of
a Service Area

If you and/or your Dependents move out of the Employer’s
service area or the Employer eliminates a service area in your
location, your COBRA continuation coverage under the plan
will be limited to out-of-network coverage only. In-network
coverage is not available outside of the Employer’s service
area. If the Employer offers another benefit option through
Cigna or another carrier which can provide coverage in your
location, you may elect COBRA continuation coverage under
that option.

Employer’s Notification Requirements

Your Employer is required to provide you and/or your

Dependents with the following notices:

e An initial notification of COBRA continuation rights must
be provided within 90 days after your (or your spouse’s)
coverage under the Plan begins (or the Plan first becomes
subject to COBRA continuation requirements, if later). If
you and/or your Dependents experience a qualifying event
before the end of that 90-day period, the initial notice must
be provided within the time frame required for the COBRA
continuation coverage election notice as explained below.

« A COBRA continuation coverage election notice must be
provided to you and/or your Dependents within the
following timeframes:

e if the Plan provides that COBRA continuation coverage
and the period within which an Employer must notify the

Plan Administrator of a qualifying event starts upon the
loss of coverage, 44 days after loss of coverage under the
Plan;

¢ if the Plan provides that COBRA continuation coverage
and the period within which an Employer must notify the
Plan Administrator of a qualifying event starts upon the
occurrence of a qualifying event, 44 days after the
qualifying event occurs; or

e in the case of a multi-employer plan, no later than 14 days
after the end of the period in which Employers must
provide notice of a qualifying event to the Plan
Administrator.

How to Elect COBRA Continuation Coverage

The COBRA coverage election notice will list the individuals
who are eligible for COBRA continuation coverage and
inform you of the applicable premium. The notice will also
include instructions for electing COBRA continuation
coverage. You must notify the Plan Administrator of your
election no later than the due date stated on the COBRA
election notice. If a written election notice is required, it must
be post-marked no later than the due date stated on the
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your
Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before
the due date, you may change your mind as long as you
furnish a completed election form before the due date.

Each qualified beneficiary has an independent right to elect
COBRA continuation coverage. Continuation coverage may
be elected for only one, several, or for all Dependents who are
qualified beneficiaries. Parents may elect to continue coverage
on behalf of their Dependent children. You or your spouse

may elect continuation coverage on behalf of all the qualified
beneficiaries. You are not required to elect COBRA
continuation coverage in order for your Dependents to elect
COBRA continuation.

How Much Does COBRA Continuation Coverage Cost?
Each qualified beneficiary may be required to pay the entire
cost of continuation coverage. The amount may not exceed
102% of the cost to the group health plan (including both
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The
premium during the 11-month disability extension may not
exceed 150% of the cost to the group health plan (including
both employer and employee contributions) for coverage of a
similarly situated active Employee or family member.

For example: If the Employee alone elects COBRA
continuation coverage, the Employee will be charged 102%
(or 150%) of the active Employee premium. If the spouse or
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active

 

63

myCigna.com
Case 2:20-cv-02460-MSN-cgc Document 1-2 Filed 06/26/20 Page 26o0f 26 PagelD 74

Ol
syeess

Ae Cigna.

 

Employee premium. If more than one qualified beneficiary
elects COBRA continuation coverage, they will be charged
102% (or 150%) of the applicable family premium.

When and How to Pay COBRA Premiums
First payment for COBRA continuation

If you elect COBRA continuation coverage, you do not have
to send any payment with the election form. However, you
must make your first payment no later than 45 calendar days
after the date of your election. (This is the date the Election
Notice is postmarked, if mailed.) If you do not make your first
payment within that 45 days, you will lose all COBRA
continuation rights under the Plan.

Subsequent payments

After you make your first payment for COBRA continuation
coverage, you will be required to make subsequent payments
of the required premium for each additional month of
coverage. Payment is due on the first day of each month. If
you make a payment on or before its due date, your coverage
under the Plan will continue for that coverage period without
any break.

Grace periods for subsequent payments

Although subsequent payments are due by the first day of the
month, you will be given a grace period of 30 days after the
first day of the coverage period to make each monthly
payment. Your COBRA continuation coverage will be
provided for each coverage period as long as payment for that
coverage period is made before the end of the grace period for
that payment. However, if your payment is received after the
due date, your coverage under the Plan may be suspended
during this time. Any providers who contact the Plan to
confirm coverage during this time may be informed that
coverage has been suspended. If payment is received before
the end of the grace period, your coverage will be reinstated
back to the beginning of the coverage period, This means that
any claim you submit for benefits while your coverage is
suspended may be denied and may have to be resubmitted
once your coverage is reinstated. If you fail to make a
payment before the end of the grace period for that coverage
period, you will lose all rights to COBRA continuation
coverage under the Plan.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience one of the following
qualifying events, you must notify the Plan Administrator
within 60 calendar days after the later of the date the
qualifying event occurs or the date coverage would cease as a
result of the qualifying event:

e Your divorce or legal separation; or

* Your child ceases to qualify as a Dependent under the Plan.

e The occurrence of a secondary qualifying event as discussed
under “Secondary Qualifying Events” above (this notice

must be received prior to the end of the initial 18- or 29-
month COBRA period).

(Also refer to the section titled “Disability Extension” for
additional notice requirements.)

Notice must be made in writing and must include: the name of
the Plan, name and address of the Employee covered under the
Plan, name and address(es) of the qualified beneficiaries
affected by the qualifying event; the qualifying event; the date
the qualifying event occurred; and supporting documentation
(e.g., divorce decree, birth certificate, disability determination,
etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth,
adoption or placement for adoption while your coverage is
being continued, you may cover such Dependent under your
COBRA continuation coverage. However, only your newborn
or adopted Dependent child is a qualified beneficiary and may
continue COBRA continuation coverage for the remainder of
the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event.
COBRA coverage for your Dependent spouse and any
Dependent children who are not your children (e.g.,
stepchildren or grandchildren) will cease on the date your
COBRA coverage ceases and they are not eligible for a

secondary qualifying event.

COBRA Continuation for Retirees Following Employer’s
Bankruptcy

If you are covered as a retiree, and a proceeding in bankruptcy
is filed with respect to the Employer under Title 11 of the
United States Code, you may be entitled to COBRA
continuation coverage. If the bankruptcy results in a loss of
coverage for you, your Dependents or your surviving spouse
within one year before or after such proceeding, you and your
covered Dependents will become COBRA qualified
beneficiaries with respect to the bankruptcy. You will be
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will
be entitled to COBRA continuation coverage for up to 36
months following your death. However, COBRA continuation
coverage will cease upon the occurrence of any of the events
listed under “Termination of COBRA Continuation” above.

Interaction With Other Continuation Benefits

You may be eligible for other continuation benefits under state
law. Refer to the Termination section for any other
continuation benefits.

HC-FED66 M 07-14

 

myCigna.com
